     CaseCase 2:12-cr-00346-GMN-NJK
          2:10-cr-00579-GMN-RJJ       Document
                                 Document       23 Parte)
                                          92-2 (Ex   Filed 01/03/13    PagePage
                                                           Filed 01/03/13   1 of 11 of 1



 1   DANIEL G. BOGDEN
     Unites States Attorney
 2   WESLEY L. HSU
     Special Assistant U.S. Attorney
 3   MICHAEL CHU
     Assistant U.S. Attorney
 4   333 Las Vegas Blvd., South, Ste. 5000
     Las Vegas, Nevada 89101
 5   (702) 388-6336
 6   Attorney for Plaintiff
     United States of America
 7
 8                               UNITED STATES DISTRICT COURT
 9                                 FOR THE DISTRICT OF NEVADA
10    UNITED STATES OF AMERICA,                    ) CR Nos.      2:10-CR-00579-GMN-RJJ
11                                                 )              2:12-CR-00346-GMN-RJJ
               Plaintiff,                          )
12                                                 ) [Proposed] ORDER REDUCING
                            v.                     ) RESTITUTION DUE
13                                                 )
      CORNELIU STEFAN WEIKUM and                   )
14    YULIA MISHINA-HEFFRON,                       )
                                                   )
15             Defendants.                         )
                                                   )
16
17          Pursuant to Federal Rule of Criminal Procedure 35(a), IT IS HEREBY ORDERED that

18   the judgment and commitment order in this case for each defendant is corrected to reflect a

19   reduced total amount of restitution due of $4,367,476.38.

20
21   DATED: Jan. ___, 2013
            January   3, 2013.
                                                 HON. GLORIA M. NAVARRO
22                                               United States District Judge

23
24
25
26
27
28
